 Case 2:22-cv-00314-JRG Document 25 Filed 05/31/22 Page 1 of 2 PageID #: 718




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


PALO ALTO NETWORKS, INC.,
                                                             Case No. 1:22-cv-02306-ER
Plaintiff,

v.
                                                             NOTICE OF MOTION
TAASERA LICENSING LLC and QUEST PATENT
RESEARCH CORPORATION,                                        ORAL ARGUMENT REQUESTED

Defendants.



       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Defendant Quest Patent Research Corporation’s Motion to Dismiss Palo Alto Networks, Inc.’s

(“Palo Alto” or “Plaintiff”) First Amended Complaint (D.I. 21) for Declaratory Judgment of Non-

Infringement and the exhibits thereto, the Declaration of John C. Scahill, and all prior pleadings

and proceedings had herein, Defendant Quest Patent Research Corporation hereby moves this

Court, at a time and date determined by the Court, for an order (i) pursuant to 12(b)(1) and 12(b)(6)

of the Federal Rules of Civil Procedure (a) granting dismissal of Plaintiff Palo Alto Networks, Inc.

First Amended Complaint (D.I. 21) for Declaratory Judgment of Non-Infringement as against

Defendant Quest Patent Research Corporation in its entirety, and (b) a determination that no alter

ego exists between defendants Taasera Licensing LLC and Quest Patent Research Corporation,

and (ii) granting such other and further relief as the Court deems just and proper.
Case 2:22-cv-00314-JRG Document 25 Filed 05/31/22 Page 2 of 2 PageID #: 719




Dated: New York, New York
       May 31, 2021
                                  Respectfully submitted,

                                  TARTER KRINSKY & DROGIN LLP


                                  By:    /s/ Mark J. Rosenberg
                                         Mark J. Rosenberg

                                  1350 Broadway, 11th Floor
                                  New York, New York 10018
                                  Tel. (212) 216-8000
                                  Fax (212) 216-8001
                                  mrosenberg@tarterkrinsky.com


                                  Attorneys for Defendant
                                  Quest Patent Research Corporation




                                     2
